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                             UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

 In re:                                                    :         Case No. 16-50183
                                                           :         Chapter 7
 HealthSpot, Inc.                                          :
                                                           :
                                  Debtor.                  :         Judge Caldwell

                         WITHDRAWAL OF PROOF OF CLAIM NO. 44

                 The undersigned Special Counsel for the State of Ohio, Development Services

 Agency, states that that a Proof of Claim No. 44 was filed on October 27, 2016 in error. Therefore

 the Proof of Claim No. 44 is hereby withdrawn.



                                                                      Respectfully submitted,

                                                                      Mike DeWine,
                                                                      Ohio Attorney General

                                                               By:     /s/ Raymond J. Pikna, Jr.
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                                                                      Special Counsel for Ohio Attorney General


                                     CERTIFICATE OF SERVICE

         I hereby certify that on October 27, 2016, a copy of the foregoing Withdrawal of Proof of Claim
 (No. 44) was filed electronically. Notice of this filing will be sent to the following parties through the
 Court’s Electronic Filing System. Parties may access this filing through the Court’s system:

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 ustpregion09.cb.ecf@usdoj.gov

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 And served by ordinary U.S. mail, postage prepaid, on:

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                                                /s/ Raymond J. Pikna, Jr.
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